Case 1: 04- -C\/- -01147- .]DT- STA Document 47 Filed 08/30/05 Page 1 of 3 Page|D 47

  

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
EASTERN D|VlS|ON

 

LAURA CRANF|LL, individually and

LAURA CRANF|L|_ and STE\/EN CRANF|LL
as next Of Kin of TYLER CRANF|LL, deceased
and KA`|'|E CRANF|LL, a minor,

P|aintiffs,
vs l\lO. 1~04-1 147-T/AN
BREVV BROTHERS, |NC., a Tennessee
Corporation, JERRY GAY, |ndividua||y,
l\/||KE JONES, lndividua||y, and JASON
PATERSO|\|, lndividually,

Defendants.

 

AGREED ORDER D|SNllSSlNG PLA|NT|FFS’
CLA|Nl OF PUN|T|VE DAMAGES

 

Upon l\/lotion Of the P|aintiffs to dismiss their presently pending claims for
punitive damages and With agreement of counsel for Defendants,
lT |S, THEREFORE, ORDERED, ADJUDGED AND DECREED that Plaintitts’

claims for punitive damages are hereby dismissed

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DATE: 95 QMW 9€`€6"

 

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Case 1:04-cv-01147-.]DT-STA Document 47 Filed 08/30/05 Page 3 of 3 Page|D 49

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Honorable J ames Todd
US DISTRICT COURT

